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                                                                     CLERK, U.S. DISTRICT COURT



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                                                                   CENTRAL DISTRICT OF CALIFORNIA
                                                                     BY: ___________________ DEPUTY




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8                            UNITED STATES DISTRICT COURT

9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                             October 2020 Grand Jury

11   UNITED STATES OF AMERICA,               CR 2:20-cr-00516-FMO

12             Plaintiff,                    I N D I C T M E N T

13             v.                            [18 U.S.C. §§ 844(f)(1), (2):
                                             Malicious Damage to Property Owned
14   NATHAN WILSON,                          by an Institution or Organization
       aka “yup_i_eat_crayons,” and          Receiving Federal Financial
15   CHRISTOPHER BEASLEY,                    Assistance]

16             Defendants.

17

18        The Grand Jury charges:
19                      [18 U.S.C. §§ 844(f)(1), (2), 2(a)]
20        1.   At times relevant to this Indictment, the City of Santa
21   Monica was an institution and organization receiving federal
22   financial assistance.     The Santa Monica Police Department was a
23   department of the City of Santa Monica.
24        2.   On or about May 31, 2020, a Santa Monica Police Department
25   vehicle, owned by the City of Santa Monica, was parked in a parking
26   space adjacent to the Santa Monica Civic Center, in Los Angeles
27   County, within the Central District of California.
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1         3.   At that date and place, numerous people, known and unknown

2    to the Grand Jury, including defendants NATHAN WILSON, also known as

3    “yup_i_eat_crayons,” and CHRISTOPHER BEASLEY, surrounded the vehicle,

4    and engaged in and encouraged each other to light the Santa Monica

5    Police Department vehicle on fire.

6         4.   On or about May 31, 2020, in Los Angeles County, within the

7    Central District of California, defendants WILSON and BEASLEY, and

8    others known and unknown to the Grand Jury, maliciously damaged and

9    destroyed, and aided and abetted the malicious damage and

10   destruction, by means of fire, of a vehicle, in whole and in part

11   owned and possessed by the City of Santa Monica, an institution and

12   organization receiving federal financial assistance, and in doing so,

13   created a substantial risk of injury to at least one person.

14                                              A TRUE BILL
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16
                                                       /S/
17                                              Foreperson

18
     NICOLA T. HANNA
19   United States Attorney

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     BRANDON D. FOX
22   Assistant United States Attorney
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